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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

  COMMODITY FUTURES TRADING
  COMMISSION
                                                     Case No. 17-cv-06416
                         Plaintiff,

         v.                                          Hon. Sharon Johnson Coleman

  MONEX DEPOSIT COMPANY, MONEX
  CREDIT COMPANY, NEWPORT SERVICE
  CORPORATION, LOUIS CARABINI, and
  MICHAEL CARABINI,

                         Defendants.


                    DEFENDANTS’ RULE 12(b)(6) MOTION TO DISMISS
                     COMPLAINT FOR FAILURE TO STATE A CLAIM

         Defendants Monex Deposit Company (“MDC”), Monex Credit Company (“MCC”),

  Newport Service Corporation (“Newport”), Louis Carabini and Michael Carabini1, pursuant to

  Federal Rule of Civil Procedure 12(b)(6), respectfully move this Court to enter an order

  dismissing the Complaint filed in the above-captioned lawsuit for failure to state a claim (the

  “Motion”). Contemporaneous with this Motion, Defendants have sought leave to file their

  Memorandum of Law in Support of Motion to Dismiss for Failure to State a Claim in excess of

  the 15-page limit for such briefs stated in Local Rule 7.1. In support of this Motion, Defendants

  state the following:

         1.      On September 6, 2017, Plaintiff Commodity Futures Trading Commission

  (“CFTC”) filed a four-Count Complaint for Injunctive and Other Equitable Relief and Penalties

  under the Commodity Exchange Act (“CEA”) (“Complaint”) against Defendants.

  1
   MDC, MCC and Newport are referred to collectively as “Monex”; Louis Carabini and Michael
  Carabini are referred to as the “Individual Defendants”; Monex and the Individual Defendants
  are referred to as “Defendants.”
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          2.       Counts 2 and 3 of the Complaint should be dismissed as to all Defendants because

  the Complaint does not allege sufficient facts to sustain the CFTC’s fraud claims. These claims

  are premised on statements allegedly made by or on behalf of Defendants that are factually true

  and/or are, at most, garden-variety puffery. As such, these statements are not actionable as a

  matter of law.

          3.       All Counts of the Complaint should be dismissed as to all Defendants because the

  CFTC does not have jurisdiction to pursue this action. The Complaint affirmatively alleges that

  Monex transfers physical possession of leveraged precious metals to a depository and passes title

  to its customers. As such, Monex is beyond the CFTC’s reach according to the CFTC’s statutory

  mandate, its own industry guidance, and its own prior litigation statements. Should the CFTC

  seek to depart from its own prior guidance and statements, the Complaint should be dismissed

  for failure to provide Monex with fair warning in violation of the Defendants’ right to due

  process.

          4.       All Counts should also be dismissed as to the Individual Defendants because the

  Complaint does not allege sufficient facts to sustain a claim for “controlling person” liability.

  The Complaint barely even mentions the Individual Defendants, much less makes a showing that

  they acted in bad faith or knowingly induced any violation of law, an essential element of the

  CFTC’s claim.

          5.       Accordingly, for the reasons stated herein and more fully presented in

  Defendants’ Memorandum of Law in Support of Motion to Dismiss for Failure to State a Claim,

  this Court should dismiss the Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) for

  failure to state a claim.
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          WHEREFORE, pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants

  Monex Deposit Company, Monex Credit Company, Newport Service Corporation, Louis

  Carabini and Michael Carabini request that this Court enter an order dismissing the Complaint

  with prejudice for failure to state claim, and for all other relief that is just, equitable and proper.

  Dated: October 3, 2017                         Respectfully submitted,
                                                 MONEX DEPOSIT COMPANY, MONEX
                                                 CREDIT COMPANY, NEWPORT SERVICE
                                                 CORPORATION, LOUIS CARABINI, AND
                                                 MICHAEL CARABINI

                                                 By:     /s/ Steven L. Merouse
                                                                 One of their Attorneys
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on October 3, 2017, I electronically filed Defendants’ Motion to

  Dismiss for Failure to State a Claim with the Clerk of Court using the CM/ECF system which

  sent notification of such filing to all counsel who have appeared in this matter.


                                                By:     /s/ Steven L. Merouse
                                                        One of the Attorneys for Defendants
